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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                                      3/4/2021
                                                                       :
SHAEL CRUZ,                                                            :
                                                                       :
                                    Plaintiff,                         :
                                                                       :      20-cv-9936 (LJL)
                  -v-                                                  :
                                                                       :          ORDER
HEALTHY PAWS PET INSURANCE LLC,                                        :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        The Court has been informed that the parties have reached a settlement in principle in this

case. See Dkt. No. 13. Accordingly, it is hereby ORDERED that this action is DISMISSED

without costs and without prejudice to restoring the action to the Court’s calendar, provided the

application to restore the action is made within thirty (30) days of this Order. Any application to

reopen filed after thirty (30) days from the date of this Order may be denied solely on that basis.

Any pending motions are DISMISSED as moot, and all conferences and deadlines are

CANCELLED.



        SO ORDERED.

Dated: March 4, 2021                                       __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
